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UNITED STATES DISTRICT CO
DISTRICT OF MASSACHUSET CLERKS OF FICE

02 JUN It) A BEL:
Civil Action No.:

U.S. DISTRICT COURT
JOSEPH A. LOSANO DISTRICT OF MASS.

Plaintiff,

Vv.

02-111 3wGY
 pmomere 30/57 *

TOWN OF SWAMPSCOTT, JOHN TOOMEY,
AS FORMER CHIEF OF POLICE OF THE
TOWN OF SWAMPSCOTT, and in his
individual capacity, RONALD MADIGAN, AS

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FORMER CAPTAIN, NOW CHIEF OF POLICE AMSCUNT 9/52)

IN THE TOWN OF SWAMPSCOTT, and in his FUMMONS pen, 1/0

individual capacity, GARY LORD, SGT. IN THE LOCAL BULY 41

TOWN OF SWAMPSCOTT, and in his WALYER OF SIRY, .

individual capacity, and WILLIAM WATERS, ROC? ESSUED __

AS FORMER PATROLMAN, NOW SGT. IN AG M8 O2 11

THE TOWN OF SWAMPSCOTT, and in his TT MET CLx OCS

individual capacity. . race Gla fo
Defendants. Bae

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DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM STATE COURT

Pursuant to 28 U.S.C. §1441(b) and 1446, defendants petition for removal of this
action to the United States District Court for the District of Massachusetts. As grounds
therefore, the defendants state as follows:

1. On or about May 9, 2002, the plaintiff filed this suit in the Essex Superior
Court, Civil Action No. 02-890.

2. On May 15, 2002, the plaintiff’s complaint was served upon the
defendants. Attached as Exhibit A is a copy of the plaintiff's complaint and summons
which were served upon the defendants.

3. In the complaint, the plaintiff “seeks money damages for the violation of

his First, Fourth, Fourteenth Amendment rights pursuant to the Civil Rights Act of

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1871, 42 U.S.C. & [sic] 1983 and various state causes of action. Jurisdiction is conferred
upon pursuant to 28 U.S.C. & [sic] 1331 and 28 U.S.C. & [sic] 28 U.S.C. & [sic] 1343(3).”
4, Because this matter is an action arising under federal law of which this
Court has original jurisdiction, as authorized by 28 U.S.C. §1331, it is subject to removal
under 28 U.S.C. §1441(b).
5. This Notice of Removal is being filed within the time period required by
law, 28 U.S.C. §1446(b).

Respectfully submitted,
DEFENDANTS,
By their attorneys,

ZEEE...

//eonate H. Kesten, BBO No. 542042
Andfew S. Brooslin, BBO No. 638238
Brody, Hardoon, Perkins & Kesten, LLP
One Exeter Plaza
Boston, MA 02116
(617) 880-7100

Dated: June 11, 2002

RTI
\ hereby certify that a true copy of the above document
was served upon tha attomay of record for eaett other
party by maihemed- on (tl:e

